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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

     In re                                                 Chapter 11

     FTX TRADING LTD., et al.,1                            Case No. 22-11068 (JTD)

                                   Debtors.                (Jointly Administered)

                                                           Ref. No. 829

    FIRST SUPPLEMENTAL DISINTERESTEDNESS DECLARATION OF KATHERINE
     STADLER IN CONJUNCTION WITH HER APPOINTMENT AS FEE EXAMINER

         I, Katherine Stadler, under penalty of perjury declare as follows:

         1.       I am a shareholder with Godfrey & Kahn, S.C. (“Godfrey & Kahn”), and I am the

Fee Examiner in these Chapter 11 cases, appointed pursuant to the Court’s March 8, 2023 Order

(I) Appointing Fee Examiner and (II) Establishing Procedures for Consideration of Requested

Compensation and Reimbursement of Expenses [Dkt. No. 834]. The Declaration is based on my

personal knowledge, and if called to testify, I could and would testify competently to the written

statements made in this Declaration. I submit this Declaration for the purpose of providing

supplemental information establishing that I continue to be a “disinterested person” (as that term

is defined in 11 U.S.C. § 101(14)) in the above-captioned chapter 11 case (the “Chapter 11

Case”) of FTX Trading Ltd., et al. (the “Debtors”).

         2.       On March 8, 2023, I submitted the Disinterestedness Declaration of Katherine

Stadler in Conjunction with Her Appointment as Fee Examiner [Dkt. No. 829] (the “Initial

Declaration”).


1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification number is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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       3.         Since filing my previous declaration, I have become aware of additional Godfrey

& Kahn connections to two interested parties in these cases. First, Godfrey & Kahn was retained

to serve as local Wisconsin counsel for Paul Hastings on a real estate matter unrelated to these

Chapter 11 cases. The Godfrey & Kahn attorneys staffed on that real estate matter were not, and

will not be, staffed on these Chapter 11 cases. Second, Godfrey & Kahn has been retained to

serve as local Wisconsin counsel for Sullivan & Cromwell on an appellate matter unrelated to

these bankruptcy cases. The Godfrey & Kahn attorneys staffed on that appellate matter are not,

and will not be, staffed on these Chapter 11 cases.

       4.         Based on the foregoing and the Initial Declaration and its appendices, to the best

of my knowledge and belief, insofar as I have been able to ascertain after reasonable inquiry, I

believe I am, and Godfrey & Kahn is, a “disinterested person” as that term is defined in 11

U.S.C. §101(14) because:

       A.         Godfrey & Kahn is not, and I am not, a creditor, equity security holder, or insider

of the Debtors.

       B.         Godfrey & Kahn is not and was not within two years before the Petition Date, and

I am not and was not within two years before the Petition Date, a director, officer, or employee of

the Debtors.

       C.         Godfrey and Kahn does not have, and I do not have, an interest materially adverse

to the interest of the Debtors’ estate or of any class of creditors or equity security holders, by

reason of any direct or indirect relationship to, connection with, or interest in the Debtors or for

any other reason.

       5.         Despite the efforts described above and in the Initial Declaration to identify and

disclose my connection and Godfrey & Kahn’s connections with parties in interest in this case, I




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am unable to state with certainty that every client representation or other connection of Godfrey

& Kahn has been disclosed. In this regard, if I discover, or Godfrey & Kahn discovers,

additional information that requires disclosure, I will file a supplemental disclosure with the

Court.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

         Dated this 12th day of September 2023.

                                                              /s/ Katherine Stadler
                                                              Katherine Stadler




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                                 CERTIFICATE OF SERVICE

         I, Katherine Stadler, hereby certify that on September 12, 2023, I caused a copy of the

foregoing First Supplemental Disinterestedness Declaration of Katherine Stadler in Conjunction

with Her Appointment as Fee Examiner to be served upon the individuals registered to receive

electronic notices via the Court’s ECF electronic noticing system and requested Kroll provide

service to the rest.

         Dated this 12th day of September 2023.

                                                              /s/ Katherine Stadler
                                                              Katherine Stadler




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